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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :

             vs                      :    CASE NO. 3:23-CR-147

DARYL RINKER                         :    (JUDGE MANNION)

TYPE OF CASE: CRIMINAL - SEALED

                               SCHEDULING NOTICE

      TAKE NOTICE that a proceeding in this case has been SCHEDULED for the

time and place listed below:

PLACE: UNITED STATES DISTRICT COURT             COURTROOM: 3
      WILLIAM J. NEALON FEDERAL BLDG. &
       UNITED STATES COURTHOUSE
       235 N. WASHINGTON AVE.
       SCRANTON, PA 18501                       DATE AND TIME:
                                                Friday, June 30, 2023
                                                at 1:30 p.m.

TYPE OF PROCEEDINGS:

   INITIAL APPEARANCE / ARRAIGNMENT ON INFORMTION / PLEA HEARING


DATE: June 2, 2023

                                                PETER J. WELSH, CLERK

                                                s/ G. Gebhardt
                                                Gina Gebhardt


TO: HON. MALACHY E. MANNION, US DISTRICT JUDGE
   JAMES BUCHANAN, ESQUIRE, AUSA
   CHRISTOPHER P. CAPUTO, ESQUIRE
    U.S. PROBATION
    U.S. MARSHAL
    CT. REPORTER
